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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

MARTIN J. WALSH, Secretary of Labor,                  )
United States Department of Labor,                    )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    ) Civil Action No.:
                                                      )
PROTECTION PLUS, INC., and RAYMOND                    )
STANLEY, an individual,                               )
                                                      )
        Defendants.                                   )

                                         COMPLAINT

       Pursuant to Section 217 of the Fair Labor Standards Act, of 1938, as amended (29 U.S.C.

§ 201 et seq.) (“FLSA”), Plaintiff, Martin J. Walsh, Secretary of Labor, United States

Department of Labor (“Secretary”), brings this action to enjoin and restrain the defendants

PROTECTION PLUS, INC. (“Protection Plus”) and RAYMOND STANLEY (collectively,

“Defendants”) from violating Sections 207, 211, 215(a)(2) and/or 215(a)(5) of the FLSA and to

recover unpaid compensation, plus an equal amount in liquidated damages pursuant to Section

216(c) of the Act (29 U.S.C. § 216(c)) for Defendants’ employees.

       The Secretary, through the Wage and Hour Division, conducted an investigation of

Defendants for compliance with the FLSA. The Secretary’s investigation reviewed Defendants’

employment and pay practices from May 13, 2018, through January 7, 2021 (the “Investigation

Period”). Unless stated otherwise, all allegations and conditions described herein pertain to the

Investigation Period.




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                                      Jurisdiction and Venue

        1.     This Court has jurisdiction of this case. 29 U.S.C. §§ 216(c), 217 and 28 U.S.C. §

1345.

        2.     This Court is the proper venue because all or a substantial part of the events or

omissions giving rise to these allegations occurred in this judicial district.

                                             Defendants

        3.     Defendant PROTECTION PLUS is a corporation within this Court’s jurisdiction

with an office at 2345 Lynhurst Drive, Suite 200, Indianapolis, Indiana 46241, where it conducts

business.

        4.      PROTECTION PLUS is a security company providing on-site security at various

businesses.

        5.     Defendant STANLEY has actively managed and supervised PROTECTION

PLUS’S operations and its employees during the Investigation Period.

               a. STANLEY hired and fired employees.

               b. STANLEY set employees’ work schedules.

               c. STANLEY set employees’ pay rates.

        6.     During the Investigation Period, Defendants engaged in business within Marion

County, within this Court’s jurisdiction.

                                The FLSA Applies to Defendants

        7.     PROTECTION PLUS is an “enterprise” under the FLSA due to its related

activities performed through unified operation or common control and for a common business

purpose. 29 U.S.C. § 203(r).



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       8.      PROTECTION PLUS is an “enterprise engaged in commerce” under the FLSA,

because it had (i) two or more employees who are engaged in or produced goods for commerce;

and (ii) an annual gross volume of sales or business done greater than $500,000 during the

Investigation Period. 29 U.S.C. § 203(s)(1)(A).

       9.      STANLEY is an individual “employer” under the FLSA because he has acted

directly or indirectly in PROTECTION PLUS’s interests with respect to its employees. 29

U.S.C. § 203(d).

                                         FLSA Violations

                                        Overtime Violations

       10.     Defendants repeatedly and willfully violated Sections 207 and 215(a)(2) of the

FLSA when they failed to pay their employees one-and-one-half times their regular rates for

hours worked in excess of 40 in a workweek. 29 U.S.C. §§ 207(a)(1), 215(a)(2).

       11.     For employees who performed work at a single regular rate during a workweek,

Defendants repeatedly failed to pay one and a half times the regular rate for all hours worked in

excess of forty.

       12.     For employees who performed work at different rates in a single workweek,

Defendants repeatedly failed to pay one and a half times the weighted average of those rates for

hours worked in excess of forty.

                                      Recordkeeping Violations

       13.     Defendants repeatedly and willfully violated Sections 211 and 215(a)(5) of the

FLSA when they failed to keep complete and accurate records for an employee. 29 U.S.C. §§

211, 215(a)(5), 29 C.F.R. Part 516.



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        14.     Defendants failed to accurately record the hours worked by one employee on

each workday.

        15.     Defendants failed to accurately record the total hours worked by one employee

worked each workweek.

                                        Remedies Sought

        16.     As a result of their FLSA violations, Defendants owe the employees listed in

Exhibit A back wages and liquidated damages, under 29 U.S.C. §§ 216(c), 217. If Defendants

continued to violate the FLSA after the Investigation Period, then Defendants may owe

additional back wages and liquidated damages to employees.

        17.     Defendants may also owe additional back wages and liquidated damages, during

the Investigation Period, to their employees whose identities the Secretary does not currently

know.

        18.     Moreover, Defendants repeatedly and willfully violated Sections 207, 211,

215(a)(2) and/or 215(a)(5) of the FLSA, because Defendants knew or showed reckless disregard

for whether the FLSA prohibited their conduct.

        19.     Specifically, Defendants acted willfully when they persisted in paying employees

less than their proper overtime rate for hours worked in excess of forty without regard to the

Act’s overtime and record-keeping requirements.

        20.     Defendants had notice about the FLSA’s requirements by virtue of a prior

investigation that revealed Defendants violated the FLSA by paying employees their regular rate

for all hours worked in excess of forty hours. The Wage and Hour Division discussed these

findings and the requirements of the FLSA with Defendants.




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          21.    As a result of that investigation, Defendants agreed to come into compliance with

the FLSA and to pay back wages and liquidated damages.

          22.     Given the prior investigation, Defendants’ failure to correctly pay overtime and

accurately record the number of hours an employee worked in a workweek demonstrates reckless

or knowing disregard for the requirements of the FLSA’s overtime and recordkeeping

provisions.

          23.    Because Defendants repeatedly and willfully violated the FLSA, the Secretary is

entitled to recover back wages and liquidated damages for a three-year period. 29 U.S.C. §

255(a).

                                          Prayer for Relief

          As a result of Defendants’ repeated and willful FLSA violations, the Secretary

respectfully requests this Court enter an Order:

          A.     Permanently enjoining and restraining Defendants, their officers, agents, servants,

employees, and those in active concert or participation with them, from violating Sections 207,

211, 215(a)(2) and/or 215(a)(5) of the FLSA. 29 U.S.C. § 217(a).

          B.     Finding Defendants liable for unpaid overtime wages, plus an equal amount in

liquidated damages, owing to the employees listed in Exhibit A, as well as to other of

Defendants’ employees not yet known to the Secretary. 29 U.S.C. § 216(c).

          C.     If the Court declines to award liquidated damages, then enjoining and restraining

Defendants, their officers, agents, employees, and those persons in active concert or participation

with Defendants, from withholding unpaid compensation found owing to Defendants’

employees, plus prejudgment interest computed at the underpayment rate established by the

Secretary of the Treasury under 26 U.S.C. § 6621.




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       D.     Providing such other relief as may be necessary and appropriate.

       E.     Awarding costs and granting such other and further relief as may be necessary

and appropriate.



                                                  Respectfully submitted,

                                                  SEEMA NANDA
                                                  Solicitor of Labor

                                                  CHRISTINE Z. HERI
                                                  Regional Solicitor

                                                  s/ Jing Acosta_________________
                                                  JING ACOSTA
                                                  U.S. Department of Labor
                                                  Office of the Solicitor
                                                  230 South Dearborn Street, Rm. 844
                                                  Chicago, Illinois 60604
                                                  (312) 353-1145
                                                  acosta.jing@dol.gov

                                                  Attorneys for Plaintiff Martin J. Walsh,
                                                  Secretary of Labor, United States Department
                                                  of Labor




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Exhibit A

Allen, Joseph                            Collins, Lindsey
Allen, Ronald                            Conjelko, Kevin
Allison, Larry                           Conner, Michael
Allman, Shauna                           Cottongim, Frank
Anderson, Chris                          Cox, Robert
Ash, Reginald                            Crowell, Jerome
Attikisson Jr., Lynn                     Davis, Renitta
Attlisson, Lynn Allen                    Denney, Ariel
Bailey, David                            DiSalvo, Zachary
Bailey, Lisa J                           Dodson, Atalya
Baker, Karna                             Douglas, Mason
Baker, Paul                              Douglas, Raymond
Ballard, William M                       Duncan, Kenneth
Beard, Caitlyn                           Duncan, Tamika
Beaty, Roger                             Dunham, Cathy
Bennett, Bruce                           Dunham, Floyd
Bennett, Stacey                          Erwin, Samuel
Benson, Robert                           Evans, Cassie
Bentancourt, Jacob                       Flanagan, Jimmy
Berry, Aaron                             Fletcher, Theresa
Berry, Christopher                       Ford, Anthony
Bevans, Eric                             Gabriel, Dacelin
Biddle, Anthony                          Gates, Raymond
Blake, Johnny                            Gazvoda, Larry
Blanton, Alexis                          Gibbs, Aaron
Bradshaw, James                          Goldsberry, Catherine
Bridgeman, Michael                       Golland, Deanna
Brinkman, Jeremy                         Gonzalez, Sergio
Britton, Leonard                         Goode, Tracy E
Brown, Zachary                           Goodman, Chris
Brownlee, Mikayla                        Grant-Thomas, Carrie
Bucci, Deborah L                         Graves, Kelly
Burcham, Kenneth                         Gray, Deasia
Burden, Alexander                        Grayson, Tiffany
Burks White, Ty’waun                     Gregory, Collins A
Burnett, Damon                           Grimes, Marvin
Burnett, Davon                           Hall, Matthew
Burris, Edward                           Hardesty, Jake
Burton, James                            Hargrave, Luke
Butcher, William                         Harvey, Jordan C
Carman, Melissa                          Heath, Philip
Chase, Donna                             Heiney, Shannon
Christy, Ed                              Hill, Dwond
Clark, Kaylee                            Holmes, Shawn



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House, Angel                             Morgan, Robert
House, Henry                             Mosinski, George
Howard, Michael                          Mosley, Michael
Huffman, John                            Mulkey, Glen H
Hutchings, Phyllis                       Ndiaye, Malick
Hutchins, Earl                           Neely, Sonya
Ingles II, William                       Newson, Robert
Johnson, Japhia H                        Northcutt, Ron E
Johnson, Jeremiah                        Oden, Brian
Jones, Elvis                             Parker, Ronetta
Keene, Kelvin                            Patton, Kristal
Kendall, Roger                           Pea, Michael
King, Craig                              Petro, Jerry
King, Stephen                            Pettigrew, William
Knotts, Larry                            Phillips, Deon
Knue, James                              Pitcock, Hunter
Knue III, James                          Price Jr., Gregory
Kutruff, Victoria                        Province, Franklin
Lain, Bawi Za                            Puente, Quenton
Lamon, Nora                              Puente, Steve
LaPlante, Reginald B                     Pullins, Fred
Lewis, Cheyanna                          Quakenbush, Greg
Lewis, Debbie                            Ray, Devaan
Lewis, Ernest                            Reeves, Gerald
Lightcap, Daniel                         Richardson, Jackie
Line, Jeffrey                            Richardson, Norine
Livingston, Matthew                      Richardson, Richard
Lynn, Shaelie                            Riley, Gregory
Maciel, Andrew                           Robinson, Anna
Mack, Brian                              Rodriguez, Edward
Mansaree, Bakary                         Rogers, Antwann
Martin, Jason                            Rosales, Martin
Mcbee, Nathan                            Santiago, Vincent
Mcclain, Michael                         Saylor, Frank
McDaniel, Aaron                          Scurlock, Chardae
McDaniel, Melissa                        Serf, Andrea
McDaniel, Steve                          Shannon, Toni
McPeek, Quinten                          Shoulders, Zaavier
McQuinn, Cristina                        Shriner, Christina
Meade, Ronald                            Simpson, Robert
Medsker, James                           Smilko, Robbie
Meola, Ralph                             Smith, Dana
Mikels, Norman                           Smith, Tyrae
Miranda, Jose A                          Smock, Misty
Montgomery, Linda                        Smock, Ronald
Moore, Terry R                           Sprong, Jonathon



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Stephens, Michael
Stephens, Shannon
Stigall, Jeff A
Sullivan, Melissa
Telfair, Darrell
Terhune, Robert
Terrell, Liebe L
Thomas, Robert
Thomas, William
Till, Tyler
Toliver, Tiaan
Treece, Matthew
Tuchek, Jacob
Turner, Shurea
Vaughn, Stephen L
Vest, David
Ward, Jordan
Warren, Craig
Webb, Cody
Webb, Paul
Wilbers, John
Wilder, Markee
Williams, Andre
Williams, Desmond
Williams, Donte
Williams, Marie S
Williams, Mario S
Williams, Marshall
Willoughby, Jasmine
Willoughby, Lela
Wilson, Demyshia M
Wray, Quanita
Wright, Audra
Wright, Khryishna
Young, Bobby




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